                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT


MOOSE M. SCHEIB,                                                  Case No. 21-42581-mar
                                                                  Chapter 7
                                                                  Hon. Mark A. Randon
        Debtor
                                             /

KELLY SILVERA JARRETT

        Plaintiff,                                                Adv. Proc. No. 21-04167-mar

v.                                                                Hon. Mark A. Randon

MOOSE SCHEIB, a/k/a MUSTAPHA SCHIEB
a/k/a MUSTAPHA CHEAIB,

        Defendant.
                                             /

                       DEFENDANT’S ANSWER AND
       AFFIRMATIVE DEFENSES TO PLAINTIFF’S CORRECTED COMPLAINT


        NOW COMES Moose M. Scheib (“Defendant”), by and through his attorneys, OSIPOV

BIGELMAN, P.C., and states as follows:


                                           Jurisdiction


1.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


2.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


3.      Denied, as untrue.




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4.      Admit as true.


                                        Background Facts


5.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


6.      Admit, as true.


7.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


8.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


9.      Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


10.     Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


11.     Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


12.     Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


13.     Denied, as untrue.


14.     Denied, as untrue.




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15.    Denied, as untrue.


16.    Denied, as untrue.


                                          COUNT I
                                        CONVERSION

17.    No Response required.


18.    Denied, as untrue.


19.    Denied, as untrue.


20.    Denied, as untrue.


21.     Denied, as untrue.


22.    Denied, as untrue.


       WHEREFORE, the Defendant, respectfully requests that this Honorable Court deny the

relief sought and that Plaintiff’s Complaint be dismissed with prejudice.


                                        COUNT II
                                   UNJUST ENRICHMENT



23.    No Response required.


24.    Denied, as untrue.


25.    Denied, as untrue.


26.    Denied, as untrue.


27.    Denied, as untrue.



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        WHEREFORE, the Defendant, respectfully requests that this Honorable Court deny the

relief sought and that Plaintiff’s Complaint be dismissed with prejudice.


                                       COUNT III
                             FRAUD AND MISREPRESENTATION

28.     No Response required.


29.     Denied, as untrue.


30.     Denied, as untrue.


31.     Denied, as untrue.


32.     Denied, as untrue.


33.     Denied, as untrue.


34.     Denied, as untrue.


        WHEREFORE, the Defendant, respectfully requests that this Honorable Court deny the

relief sought and that Plaintiff’s Complaint be dismissed with prejudice.


                                        COUNT IV
                                   BREACH OF CONTRACT

35.     No Response required.


36.     Denied, as untrue.


37.     Neither admit nor deny for lack of knowledge or information upon which to form a belief

as to the truth of the matter.


38.     Denied, as untrue.




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39.      Denied, as untrue.


         WHEREFORE, the Defendant, respectfully requests that this Honorable Court deny the

relief sought and that Plaintiff’s Complaint be dismissed with prejudice.


                                    AFFIRMATIVE DEFENSES


         The Defendant lacks sufficient knowledge or information to form a belief as to the truth

of some of the allegations contained in the Complaint. Until the Defendant avails himself to his

right to discovery in this proceeding, he cannot determine whether the following Affirmative

Defenses will be asserted at trial or earlier by way of appropriate motion. These defenses,

however, are included in the Answer to the Complaint in order to preserve the intention of the

Defendant to assert these defenses and to avoid waiver of these or any other available defenses.


      1. Failure to state a claim upon which relief can be granted.


      2. The complaint was filed untimely.


      3. Conversion, Unjust Enrichment, Fraud and Misrepresentation, and Breach of Contract are

         not core proceedings.


      4. Plaintiff failed to attach the alleged contract.


      5. Plaintiff cannot maintain a claim for conversion as the necessary elements are missing as

         this was simply an investment with risk where funds were lost.


      6. Plaintiff has failed to establish the necessary intent for its fraud claims.


      7. Plaintiff has failed to plead fraud with particularity.




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   8. Plaintiffs’ reliance was not reasonable.




                                            Respectfully Submitted,


Dated: August 26, 2021                      OSIPOV BIGELMAN, P.C.

                                     BY:    /s/ Jeffrey H. Bigelman
                                            JEFFREY H. BIGELMAN (P61755)
                                            Attorney for Defendant
                                            20700 Civic Center Drive, Suite 420
                                            Southfield, MI 48076
                                            (248) 663-1800
                                            jhb@osbig.com




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        Plaintiff,                                              Adv. Proc. No. 21-04167-mar

v.                                                              Hon. Mark A. Randon

MOOSE SCHEIB, a/k/a MUSTAPHA SCHIEB
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        Defendant.
                                           /

                               CERTIFICATE OF SERVICE
        I, hereby certify that on August 26, 2021, I served the following Paper: Defendant’s

Answer and Affirmative Defenses to Corrected Complaint on the following parties at these

addresses by the CM/ECF Filing System upon:

        JOHNSON LAW, PLC
        Solomon M. Radner, Esq.
        E-mail: sradner@venjohnsonlaw.com



Dated: August 26, 2021                     OSIPOV BIGELMAN, P.C.

                                    BY:    /s/ Monique Kallabat
                                           MONIQUE KALLABAT
                                           Legal Assistant
                                           20700 Civic Center Drive, Suite 420
                                           Southfield, MI 48076
                                           (248) 663-1800
                                           mk@osbig.com



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